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                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS EASTERN
                                    DIVISION

JAMES STEWART,

         Plaintiff,                              Case No. 1:18-cv-03916
v.

CREDIT CONTROL, LLC (and                         Credit Control’s Amended Corporate
employee), RESURGENT CAPITAL                     Disclosure Statement
SERVICES, L.P. (and employee), LVNV
FUNDING, LLC, and EXPERIAN
INFORMATION SOLUTIONS, INC.
(and employee).

          Defendants.


                DEFENDANT CREDIT CONTROL, LLC’S AMENDED
         CORPORATE DISCLOSURE STATEMENT PURSUANT TO RULE 7.1(b)(2)

          Defendant, Credit Control, LLC, by and through its counsel, Patrick A. Watts, Esq.,

hereby submits its Amended Corporate Disclosure Statement and states as follows:

          On or about June 30, 2019, the following ownership change became effective for Credit

Control, LLC.

          Credit Control Holdings, Inc. is the 100% owner of Credit Control, LLC and is not a

publicly traded company.

          Credit Control, LLC, is not a publicly traded company. No publicly held corporation

owns ten percent (10%) or more of the stock of Credit Control, LLC or Credit Control Holdings,

Inc.
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Dated: July 1, 2019
                                                      Respectfully submitted,

                                                      WATTS LAW GROUP, LLC

                                                      Attorneys for Defendant
                                                      Credit Control, LLC

                                                       /s/ PATRICK A. WATTS
                                                      Patrick A. Watts
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                                     CERTIFICATE OF SERVICE
        I certify that I shall cause to be served a copy of the foregoing document upon to parties
entitled to notice of the same via ECF and to the following individual(s), by electronic mail and
via the Case Management/Electronic Case Filing System (“ECF”) as indicated, this on July 1,
2019.

_X__     CM/ECF                                        Pro Se Plaintiff
___    U.S. Mail                                     James Stewart
___    Federal Express                              8132 S. Harvard
_X_    E-Mail                                        Chicago, IL 60620
___    Messenger                                    cnajames1961@yahoo.com




                                                             By /s/ PATRICK A. WATTS
                                                             Patrick A. Watts




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